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Judge Ricardo S. Martinez

 

 

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UNITED STATES OF AMERICA,
NO. CR12-098RSM
Plaintiff, ` -
- v. PLEA AGREEMENT
DJUAN O. GARDNER,
Defendant.
'I`he United States of Arnerica, by and through Jenny A. Durkan, United States

Attorney for the Western District of Washington, and Nicholas W. Brown, Assistant_
United States Attorney for said District, and Defendant, DJUAN GARDNER, and
Defendant’s attorney, Robert Leen, enter into the following Agreement, pursuant to
Federal Rule of Criminal Procedure ll(c)(l)(B):

l. Mge. Defendant, having been advised of the right to have this matterl
tried before a jury, agrees to waive that right and enter pleas of guilty to the following
charge contained in the Indictment: Felon in Possession of a Firearrn, as charged in Count
l, in violation of 'I`itle 18, United St'ates Code, Section 922(g)(l).

By entering this plea of guilty, Defendant hereby waives all objections to the form
of the charging document Defendant further understands that before entering Defendant’s

pleas of guilty, Defendant will be placed under oath. Any statement given by Defendant

 

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under oath may be used by the United States in a prosecution for perjury or false
statement

2. - Elements of the Offenses. The elements of the offense of Felon in
Possession of a Firearrn, as charged in Count l of the Indictment, are as follows:

First, the Defendant knowingly possessed a firearm;

Second, firearm had been shipped or transported in interstate or foreign
commerce; and 7 l

'l`hird, at the time the Defendant possessed the firearm, the Defendant had
been convicted of a crime punishable by imprisonment for a term exceeding one year.

3. The Penalties. Defendant understands that the statutory penalties for the
offense of Felon in Possession of a firearm, as charged in Count l, are as follows:
imprisonment for up to ten (10) years, a fine of `up' to two hundred and fifty thousand
dollars ($250,000.[}[}), a period of supervision following release from prison of up to three
(3) years, and a one hundred dollar ($100.00) special assessment

Defendant agrees that the special assessments for each count shaii be paid at or
before the time of sentencing

Defendant understands that supervised release is a period of time following
imprisonment during Which he will be subject to certain restrictions and requirements
Defendant further understands that if supervised release is imposed and he violates one or
more of its conditions, he could be returned to prison for all or part of the term of
supervised release that was originally imposed._ This could result in Defendant serving a
total term of imprisonment greater than the statutory maximum stated above.

Defendant understands that in addition to any term of imprisonment and/or fine that
is imposed, the Court may order Defendant to pay restitution to any victim of the offenses,
as required by law.

Defendant agrees that any monetary penalty the Court imposes, including the

special assessment, fine, costs or restitution, is due and payable immediately, and further

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agrees to submit a completed Financial Statement of Debtor form as requested by the
United States Attorney’s Office.
4. Rights Waived by Pleading Guilty. Defendant understands that by pleading
guilty,_Defendant knowingly and voluntarily waives the following rights:
a. The right to plead not guilty and to persist in a plea of not guilty;
b. The right to a speedy and public trial before a jury of Defendant's
peers;

7 c. The right to the effective assistance of counsel at trial, including, if
Defendant could not afford an attorney, the right to have the Court appoint one for `
Defendant',

d. The right to be presumed innocent until guilt has been established
beyond a reasonable doubt at trial; 7

e. The right to confront and cross-examine Witnesses against Defendant
at trial;

f. The right to compel or subpoena witnesses to appear on Defendant's
behalf at trial;

g. The right to testify or to remain silent at trial, at which trial such
silence could not be used against Defendant; and l

h. The right to appeal a finding of guilt or any pretrial rulings.

5. `United States Sentencing Guidelines. Defendant understands and

acknowledges that, at sentencing the Court must consider the sentencing range calculated

 

under the United States Sentencing Guidelines, together with the other factors set forth in
Title 18, United States Code, Section 3553(a), including: (l) the nature and circumstances
of the offenses; (2) the history and characteristics of the Defendant; (3) the need for the
sentence to reflect the seriousness of the offense, to promote respect for the law, and to
provide just punishment for the offense; (4) the need for the sentence to afford adequate

deterrence to criminal conduct; (5) the need for the sentence to protect the public from

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further crimes of the Defendant; (6) the need to provide the Defendant with educational
and vocational training, medical care, or other correctional treatment in the most effective
manner; (7) the kinds of sentences available; (8) the need to provide restitution to victims;
and (9) the need to avoid unwarranted sentence disparity among Defendants involved in
similar conduct who have similar records. Accordingly, Defendant understands and
acknowledges that:

a. The Court will determine Defendant's applicable Sentencing
Guidelines range at the time of sentencing;

b. After consideration of the Sentencing Guidelines and the factors in
18 U.S.C. 3553(a), the Court may impose any sentence authorized by law,` up to the
maximum term authorized by law;

c. The Court is not bound by any recommendation regarding the
sentence to be imposed, or by any calculation or estimation of the Sentencing Guidelines
range offered by the parties or the United States Probation Department, or by any
stipulations or agreements between the parties in this Plea Agreement; and

d. Defendant may not withdraw a guilty plea solely because of the
sentence imposed by the Court.

6. Ultimate Sentence. Defendant acknowledges that no one has promised or
guaranteed what sentence the Court will impose.

7. Statement ofFacts. The parties agree on the following facts in support of -
Defendant’s pleas of guilty and sentencing Defendant admits he is guilty of the charged
offense.

a. In January 2012, officers began utilizing a Conf`ldential In_formant
(CI) who managed a car dealership in Renton, Washington. Prior to Working with law
enforcement the CI developed a relationship with multiple individuals with prior
convictions, selling them cars and holding himself out as someone connected to large scale

drug importers associated with Mexican drug cartels.

 

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b. In January 2012, the Defendant, Djuan O. GARDNER, approached
the CI and told him that he had heard that the Cl was interested in purchasing firearms
The CI explained that he was interested in buying firearms on behalf on an associate with
ties to a drug cartel and that would be transported to Mexico. While no firearms
transactions look place at that time, the two remained in contact and on March 24, 2012,
GARDNER told the CI that he wanted to sell him a couple of weapons GARDNER also
sent the CI a picture via text message of the two weapons that he wanted sell him.

c. Law enforcement officers then set up a controlled transaction, during
which GARDNER sold the CI two fireanns: a Norinco, Model SKS, 7.62 x .39mm caliber
rifle, serial number 1708982; and a High-Point, Model IHP, .45 caliber semi-automatic
pistol, serial number X4164535. The CI paid GARDNER a total of $1,700 for the
firearms both of which were loaded when delivered. The parties agree that this offense
involved thep`ossession of two firearms -

d. The Defendant acknowledges that both the Norinco rifle and High»
Point pistol were in his possession on or about the dates alleged in the Indictrnent. He
further acknowledges that both were not manufactured in the State of Washington and
therefore traveled in interstate or foreign commerce 7

e. The Defendant has multiple prior felony convictions including the
six convictions listed in the lndictment and an Attempt to Elude conviction, and was
therefore prohibited from possessing firearms

8. `Sentencing Factors. The parties agree and stipulate that the following
Sentencing Guidelines provisions apply to this casc:

a. A base offense level of 20, pursuant to USSG § 2K2.l(a)(4), as the

 

Defendant committed the offense subsequent to sustaining a felony convictions for a crime
of violence; and
b. A four»level enhancement, pursuant to USSG § _2K2.l(b)(6),
transferring a firearm with reason to believe that it would be transported out of the United
States.
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The parties further agree that no other provisions of the United States Sentencing
Guidelines apply to this case. Defendant understands, however, that at the time of
sentencing the Court is free to reject these stipulated adjustments and is further free to
apply additional downward or upward adjustments in determining Defendant’s Sentencng
Guidelines range. v

9. Acceptance of Responsibilim. The United States acknowledges that if
Defendant qualifies for an acceptance of responsibility adjustment pursuant to USSG
§ 3E,l.l(a), and if the offense level is sixteen (16) or greater, Defendant’s total offense
level should be decreased by three (3) levels pursuant to USSG §§ 3El . l(a) and (b),
because Defendant has assisted the United States by timely notifying the authorities of
Defendant’s intention to plead guilty, thereby permitting the United States to avoid
preparing for trial and permitting the Court to allocate its resources efficiently. 7

10. Non-Prosecution of Additional Offenses. As part of this Plea rAgreement,
the United States Attorney’s Office for the Western District of Washington agrees not to
"prosccute Defendant for any additional offenses known to it as of the time of this
Agreement that are based upon evidence in its possession at this time, or that arise out of
the conduct giving rise to this investigation ln this regard, Defendant recognizes the
United States has agreed not to prosecute all of the criminal charges the evidence
establishes were committed by Defendant solely because of the promises made by
Defendant in this Agreement. Defendant agrees, however, that for purposes of preparing
the Presentence Report, the United States Attorney’s Office will provide the United States
Probation Office With evidence of all conduct committed by Defendant

Defendant agrees that any charges to be dismissed before or at the time of
sentencing Were substantially justified in light of the evidence available to the United
States, were not vexatious frivolous or taken in bad faith, and do not provide Defendant

with a basis for any future claims under the “Hyde Amendment,” Pub.L. No. 105-119

 

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ll. Breach Waiver and Post-Plea Conduct. Defendant agrees that if Defendant

 

breaches this Plea Agrecment, the United States may withdraw from this Plea Agreement
and Defendant may be prosecuted for all offenses for which the United States has
evidence. Defendant agrees not to oppose any steps taken by the United States to nullify
this Plea Agreement, including the filing of a motion to withdraw from the Plea l
Agreement. Defendant also agrees that if Defendant is in breach of this Plea Agreement,
Defendant has waived any objection to the reinstitution of any charges in the lndictrnent

that were previously dismissed or any additional charges that had not been prosecuted

 

Defendant further understands‘that if, after the date of this Agreement, Defendant
should engage inillegal conduct, or conduct that is in violation of Defendant’s conditions
of release or confinement (examples of which include, but are not limited to: obstruction
ofjustice, failure to appear for a court proceeding, criminal conduct while pending
sentencing, and false statements to law enforcement agents, the Pretrial Services foicer,
Probation Officer or Court), the United States is free under this Agreement to file
additional charges against Defendant or to seek a sentence that takes such conduct into
consideration Such a sentence could include a sentencing enhancement under the United
States Sentencng Guidelines or an upward departure from the applicable sentencing
guidelines range.

12. Voluntariness of Plea. Defendant agrees that Defendant has entered into this
Plea Agreernent freely and voluntarily, and that no threats or promises other than the
promises contained in this Plea Agreement, were made to induce Defendant to enter these
pleas of guilty.

13. Statute of Limitations. ln the event this Agreement is not accepted by the
Court for any reason, or Defendant has breached any of the terms of this Plea Agreement,
the statute'of limitations shall be deemed to have been tolled from the date of the Plea
Agreement to'. (l) 30 days following the date of non-acceptance of the Plea Agreement by
the Court; or (2) 30 days following the date on which a breach of the Plea Agreement by
Defendant is discovered by the United States Attorney’s Office.

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14. Completeness of Agreement. The United States and Defendant
acknowledge that these terms constitute the entire Plea Agreement between the parties 7
This Agreement binds only the United States Attorney’s Office for the Western District of
Washington. It does not bind any other United States Attorney’s Office or any other office
or agency of the United States, or any state or local prosecutor.

Dated this _'l:'day of May, 2012.

 

 

 

RoBERT LEEN`
Attorney for Defendant

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MODD GREENBE
Assistant United Sta es Attorney

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NICHOLAS W. BROWN
Assistant United States Attorney

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